     Case 2:06-cr-02121-RHW      ECF No. 531    filed 08/07/08   PageID.2317 Page 1 of 2



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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,
                                                   NO. CR-06-2121-RHW-9
 9             Plaintiff,

10             v.
                                                   ORDER GRANTING
11    WENDY SOLEDAD CHIPREZ,                       DEFENDANT’S MOTION FOR
                                                   PERMISSION TO TRAVEL TO
12             Defendant.                          MEXICO

13
           Before the Court is Defendant’s Motion for Permission to Travel to Mexico
14
     (Ct. Rec. 525). This motion was heard without oral argument. Defendant moves
15
     the Court to permit her to travel to Puerto Vallarta, Mexico, between September 10
16
     and September 25, 2008. The Government objects to this motion (Ct. Rec. 529).
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     However, her supervising probation officer, Kevin Crawford, recommends
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     granting her request. He notes that Defendant has strong ties to the community
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     through her family, her education, and her employment, and that she has complied
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     with all of the conditions of her pretrial supervision. He does not believe she is a
21
     flight risk. Therefore, the Court grants her motion, also giving her additional time
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     in the event of travel complications.
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           Accordingly, IT IS HEREBY ORDERED:
24
           1. Defendant’s Motion for Permission to Travel to Mexico (Ct. Rec. 525) is
25
     GRANTED.
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           2. Defendant may travel to Mexico between September 9, 2008, and
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     September 26, 2008.
28
     ORDER GRANTING DEFENDANT’S MOTION FOR PERMISSION TO
     TRAVEL TO MEXICO * 1
     Case 2:06-cr-02121-RHW           ECF No. 531      filed 08/07/08     PageID.2318 Page 2 of 2



 1          IT IS SO ORDERED. The District Court Executive is directed to enter this
 2 Order and to provide copies to counsel and the United States Probation Office.
 3          DATED the 7th day of August, 2008.
 4
                                          S/ Robert H. Whaley
 5
                                      ROBERT H. WHALEY
 6                                Chief United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION FOR PERMISSION TO
     TRAVEL TO MEXICO * 2
